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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                                           CASE NUMBER:


CLAUDIA GARCIA
                                                               2:19−cv−09356−CAS
                                        PETITIONER(S),

         v.
UNITED STATES OF AMERICA
                                      RESPONDENT(S).            NOTICE OF ASSIGNMENT TO A UNITED
                                                                      STATES DISTRICT JUDGE
                                                                   re: HABEAS CORPUS PETITION
                                                                     OR 28 U.S.C. §2255 MOTION


      A Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. §2241 was filed and assigned case number
          . Please refer to this case number in all future communications.

 X A Motion pursuant to 28 U.S.C. §2255 was filed in criminal case number
     2:13−cr−00484−11−CAS            also assigned civil case number 2:19−cv−09356−CAS                 . Please refer
to these case numbers in all future communications.

      Pursuant to General Order 19−03, the within action has been assigned to the calendar of the Honorable
          Judge Christina A. Snyder           , United States District Judge.

     Pleadings, motions for extension of time and all other matters to be called to the District Judge’s attention
shall be formally submitted through the Clerk of the Court.

     The Court must be notified within fifteen (15) days of any address change. If mail directed by the clerk to
your address of record is returned undelivered by the Post Office, and if the Court and opposing counsel are not
notified in writing within fifteen (15) days thereafter of your current address, the Court may dismiss the petition
with or without prejudice for want of prosecution.

    Subsequent documents, correspondence and all other matters to be called to the District Judge’s attention
should be submitted and/or filed at the following location:

Western Division
255 East Temple Street, Suite TS−134
Los Angeles, CA 90012


                                                         Clerk, U.S. District Court

 November 1, 2019                                        By /s/ Estrella Tamayo
Date                                                       Deputy Clerk




CV−17 (03/19)                NOTICE OF ASSIGNMENT TO A UNITED STATES DISTRICT JUDGE
                                     re: Habeas Corpus Petition or 28 U.S.C. §2255 Motion
